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                             Attorney for Plaintiff

                                                 IN THE UNITED STATES DISTRICT COURT

                                                         DISTRICT OF ALASKA

                             Miranda Ditullio,                      )
                                                                    )
                                    Plaintiff,                      )
                                                                    )
                                    vs.                             )
                                                                    )
                             Josef F. Boehm,                        )
                                                                    )
                                    Defendant.                      )
                             _______________________________________) Case No. 3:09-CV-00113-JWS

                                                MEMORANDUM IN SUPPORT OF
                                           MOTION FOR PARTIAL SUMMARY JUDGMENT

                                    This is an action by Miranda Ditullio ("Miranda") against defendant,

                             Josef Boehm ("Boehm") for damages arising out his providing her with

                             cocaine, cocaine base, and other illegal substances with the intent of

                             getting Miranda addicted to drugs so he could control her and keep her

                             within his grasp through threat of force and severe psychological coercion

                             and then have sex with her.     In providing illegal substances to Miranda,

                             Boehm intentionally engaged in sex trafficking under 18 U.S.C. § 1591

                             and is liable to Miranda for any damages incurred by her whether such
LAW OFFICE OF                damages are economic or non-economic in nature. Because there are no
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    905 Photo Avenue         material issues of fact in dispute as to Boehm's liability, Miranda moves
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                             for partial summary judgment, seeking entry of judgment as to liability.

                             Liability is also sought for punitive damages because Boehm’s conduct

                             was outrageous as a matter of law.

                             A.    Standard on Summary Judgment.

                                   A motion for summary judgment must be granted when "the

                             pleadings, depositions, answers to interrogatories, and admissions on

                             file, together with the affidavits, if any, show that there is no genuine

                             issue as to any material fact and that the moving party is entitled to a

                             judgment as a matter of law." Fed.R.Civ.P. 56(c).       A party seeking

                             summary judgment bears the initial burden of informing the court of the

                             basis for its motion and of identifying the evidence which demonstrates

                             the absence of a genuine issue of material fact.    See Celotex Corp. v.

                             Catrett, 477 U.S. 317, 323 (1986).       On an issue as to which the

                             nonmoving party will have the burden of proof at trial, the movant can

                             prevail merely by pointing out, that there is an absence of evidence to

                             support the nonmoving party's case. See id.

                                   If the moving party meets its initial burden, the nonmoving party

                             must then set forth, by affidavit or as otherwise provided in Rule 56,

                             "specific facts showing that there is a genuine issue for trial." Anderson

                             v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1956); Fed.R.Civ.P. 56(e).

LAW OFFICE OF                Statements of counsel in a memorandum, and unsupported allegations of
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                             fact are insufficient to defeat a motion for summary judgment. See Angel
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                             v. Seattle-First Nat'l Bank, 653 F.2d 1293, 1299 (9th Cir. 1981).     The


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                             evidence presented by the parties must be admissible. Fed.R.Civ.P. 56(e).

                             Conclusory, speculative testimony in affidavits and moving papers is

                             insufficient to raise genuine issues of fact and defeat summary judgment.

                             See, Falls Riverway Realty, Inc. v. Niagara Falls, 754 F.2d 49, 56 (2d Cir.

                             1995); Thornhill Pub. Co,, Inc. v. GTE Corp., 594 F.2d 730, 738 (9th

                             Cir.1979).

                             B.    Statement of Facts

                                   Beginning in 2001 and continuing through December 2003, Boehm

                             and others agreed to distribute cocaine and cocaine base to persons

                             under 21 years of age. Exhibit 1, Plea Agreement, p. 23. Boehm and

                             others did in fact distribute cocaine and cocaine base to persons under

                             21 years of age. Id., pp. 23-24. Boehm personally distributed between

                             50 and 150 grams of cocaine base that he purchased from others to

                             persons that Boehm knew were under the age of 21 years. Id.

                                   During the period that Boehm was buying and distributing cocaine

                             and cocaine base to juveniles, Boehm conspired with others to recruit

                             persons under 18 to engage in sexual acts.         Exhibit 1, p. 24.      These

                             juveniles    were   recruited   by   offering   them   cocaine,   which    was

                             manufactured outside Alaska and effected interstate commerce. Id. A

                             victim known as "M.D." was one of the juveniles recruited, and Miranda

LAW OFFICE OF                is the individual known as M.D. Exhibit 1, p. 24-25, See also Affidavit of
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                             Miranda Ditullio.
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                                   Miranda first met Josef Boehm in the fall of 2002 when she was 15

                             years of age. Affidavit of Miranda Ditullio. She met him at his house in

                             Anchorage. Id.   Miranda says that Boehm knew her age at the time,

                             because she told him and he told her he liked young girls. He also told

                             her that she reminded him of his daughter. Id.

                                   Beginning with their initial meeting, Boehm provided crack cocaine

                             that he and Miranda smoked together. Id. Consistent with his modus

                             operandi, Boehm would keep Miranda high for days, and he would have

                             sex with her when she was high and even when she was asleep.           She

                             knew this because when she would awaken, Boehm would be on top of

                             her having sex with her. Id.

                                   Boehm not only demanded that Miranda perform sexual acts on

                             him and but he demanded that she do so with others so he could watch.

                             Boehm supplied her with an endless supply of drugs and once she was

                             addicted, he would offer drugs only if she would perform sexual acts on

                             demand. Id.

                                   In the plea agreement, entered into between Boehm and the U.S.

                             Government, Boehm agreed that he was charged with one count of a

                             conspiracy to commit the crime of sex trafficking of child in violation of

                             18 U.S.C. §§ 371 and 1591(a)(1); eight counts of sex trafficking in

LAW OFFICE OF                violation of 18 U.S.C. § 1591(a)(1) and (b)(2); one count of conspiracy to
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                             distribute a controlled substance to person under 21 years of age and
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                             conspiracy to distribute controlled substances in violation of 21 U.S.C. §§


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                             846, 841 (a)(1) (b)(1)||(A), and 859(a).        In entering into this plea

                             agreement, Boehm admitted “he conspired with others to knowingly

                             recruit, entice, and obtain females he knew were under the age of 18 to

                             engage in commercial sex acts with him and others. Exhibit 1. In the

                             plea agreement, Boehm stipulated to the truth of the following set of

                             facts:

                                      1.   Boehm entered into a conspiracy to distribute cocaine to

                             persons under 21 years of age, including the plaintiff. Exhibit 1, p. 23.

                                      2. Boehm did in fact distribute cocaine to persons under 21 years

                             of age, including the plaintiff. Exhibit 1, p. 24.

                                      3. Boehm conspired to recruit persons under 18 years of age to

                             engage in commercial sex acts. Exhibit 1, p. 24.

                                      4. Boehm distributed cocaine to juveniles in exchange for sexual

                             acts. Id.

                                      5. Juveniles were knowingly and intentionally recruited by Boehm

                             to engage in sexual acts, including plaintiff. Exhibit 1, p. 25.

                                      6.   Plaintiff had sex with Boehm and received money and illegal

                             drugs from Boehm, and Boehm knew the ages of the juveniles at the time

                             they recruited them. Id.

                                      On page 27 of the plea agreement, Boehm stated that “I am

LAW OFFICE OF                admitting that the allegations against me contained in the factual basis
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                             for the pleas are true.” Exhibit 1, p. 27.
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                                     On page 32 of the plea agreement, Boehm stated that; “I have read

                             this plea agreement carefully, and understand it thoroughly. I know of

                             no reason why the Court should find me incompetent to enter into this

                             agreement or to enter my plea.” Exhibit 1, p. 32.

                             C.      Plaintiff is entitled to summary judgment on liability.

                                     Title 18 U.S.C. § 1595 provides a civil remedy for victims of the

                             crime of sex trafficking of children.    This includes victims of offenses

                             committed under 18 U.S.C. § 1591.        Under section 1595, the Federal

                             District Court has jurisdiction of the action, and the plaintiff is entitled

                             damages, and actual, reasonable attorney fees and costs incurred in the

                             prosecution of the civil action. Id.

                                     Plaintiff has sued under 18 U.S.C. § 1595. The facts necessary to

                             recover under this civil action are conclusively established by the plea

                             agreement and the facts established in the corresponding criminal action.

                             Indeed, Boehm pled guilty and he has admitted, or stipulated to all of the

                             material facts necessary to the establishment of liability under the §

                             1595.

                                     In Parklane Hosiery Co. v. Shore, 439 U.S. 322, 326-33 (1979), the

                             Supreme Court approved of the offensive use of collateral estoppel by

                             permitting a plaintiff to preclude a defendant from relitigating an issue

LAW OFFICE OF                that was decided in a prior suit between the same defendant and a
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                             different plaintiff. This use of collateral estoppel as a "sword" rather than
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                             merely as a "shield" was a radical departure from the traditional

                             mutuality rule.

                                   Parklane involved a shareholder's class action alleging that the

                             defendant had issued a false proxy statement. Id., at 324. Before the suit

                             was tried, the Securities and Exchange Commission (SEC) filed and won

                             a suit against the defendant based on the same allegations. Id., at 324-

                             25. The plaintiff in Parklane sought to use the verdict from the case to

                             estop defendant from relitigating the issue of the falsity of the proxy

                             statement. The district court denied plaintiff's motion to apply collateral

                             estoppel on the ground that such application would deny defendants

                             their Seventh Amendment right to a jury trial. Id., at 325. The Court of

                             Appeals for the Second Circuit reversed, holding that a party's

                             opportunity to litigate an issue in a nonjury trial fully and fairly estops

                             him from relitigating the issue in a subsequent jury trial. Id.          The

                             Supreme Court held that offensive, non-mutual estoppel is permissible

                             and affirmed the Second Circuit. Id., at 331-33. The Court reached the

                             conclusion that the use of offensive collateral estoppel would not violate

                             the Seventh Amendment right to a jury trial, regardless of whether there

                             was a jury trial in the first action, as long as the party was given a full

                             and fair opportunity to litigate the issues in the first action. Id., at 333-

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                                   Prior to Parklane, the Supreme Court of the United States held that
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                             "a guilty plea is an admission of all the elements of a formal criminal


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                             charge." McCarthy v. United States, 394 U.S. 459, 466 (1969); See Menna

                             v. New York, 423 U.S. 61, 62 n.2 (1975) (per curium) ("[A] counseled plea

                             of guilty is an admission of factual guilt so reliable that, where voluntary

                             and intelligent, it quite validly removes the issue of factual guilt from the

                             case.").   For purposes of collateral estoppel, a federal conviction following

                             a guilty plea "is as much a conviction as a conviction following jury trial."

                             Gray v. Commissioner, 708 F.2d 243, 246 (6th Cir. 1983), cert. denied,

                             466 U.S. 927 (1984). Therefore, a federal guilty plea and ensuing

                             conviction collaterally estop a litigant from relitigating in a federal civil

                             proceeding any material facts or elements necessarily established by the

                             plea. See United States v. Wight, 839 F.2d 193, 195 (4th Cir. 1987) (guilty

                             plea to accepting gratuities estops ex-official in later civil suit to recover

                             gratuity amounts); Gray, 708 F.2d at 246 (guilty plea to federal income

                             tax evasion establishes fraud in subsequent civil tax fraud proceeding); In

                             re Raiford, 695 F.2d 521, 523-524 (11th Cir. 1983) (guilty plea to

                             bankruptcy fraud bars relitigation of factual issues in bankruptcy

                             proceeding); Fontneau v. United States, 654 F.2d 8, 10 (1st Cir. 1981)

                             (guilty plea and conviction for federal income tax evasion has preclusive

                             effect in civil suit); Ivers v. United States, 581 F.2d 1362, 1367 (9th Cir.

                             1978) (facts necessarily determined by conviction based on guilty plea

LAW OFFICE OF                cannot be relitigated in forfeiture proceeding); United States v. Podell, 572
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                             F.2d 31, 35 (2d Cir. 1978) ("It is well-settled that a criminal conviction,
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                             whether by jury verdict or guilty plea, constitutes estoppel in favor of the


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                             United States in a subsequent civil proceeding as to those matters

                             determined by the judgment in the criminal case."); Brazzell v. Adams,

                             493 F.2d 489, 490 (5th Cir. 1974) (guilty plea to selling heroin estops

                             prisoner from arguing, in action under 42 U.S.C. 1983, that he engaged

                             in transaction with the belief that he was assisting state agents); Plunkett

                             v. Commissioner, 465 F.2d 299, 305-306 (7th Cir. 1972) (convictions for

                             tax evasion pursuant to guilty plea collaterally estops defendant from

                             denying fraud in civil tax fraud proceedings).

                                   A guilty plea constitutes an admission to the truth of all the

                             material facts alleged in the indictment. United States v. Matrecios, 618

                             F.2d 81, 83-84 (9th Cir. 1980).       It is settled law in this circuit that a

                             guilty plea may be used to establish issue preclusion in a subsequent

                             civil suit. United States v. Section 18, 976 F.2d 515, 519 (9th Cir. 1992);

                             See also United States v. $ 31,697.59 Cash, 665 F.2d 903, 904 (9th Cir.

                             1982); United States v. Bejar-Matrecios, 618 F.2d 81, 83-84 (9th Cir.

                             1980); Ivers v. United States, 581 F.2d 1362, 1367 (9th Cir. 1978).

                                   The elements necessary to recover under 18 U.S.C. § 1595 are that

                             plaintiff be a victim of a violation of either 18 U.S.C. §§ 1589, 1590 or

                             1591. See 18 U.S.C. § 1595(a). All plaintiff need do, to be entitled to

                             recovery, is show that she was a victim of one of those offenses listed in

LAW OFFICE OF                subsection (a) of Section 1595. A violation of Section 1591 is shown if it
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                             can be shown that Boehm and his co-conspirators knowingly, while
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                             affecting interstate commerce, recruited and enticed a person under the


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                             age of 18 years to engage in commercial sexual acts. See 18 U.S.C. §

                             1591.

                                     In entering into his plea agreement, Boehm admitted “that he

                             conspired with others to knowingly recruit, entice, and obtain females

                             that he knew were under the age of 18 to engage in commercial sex acts

                             with himself and others.” Exhibit 1, Plea Agreement, p. 6. Thus, Boehm

                             has admitted to a violation of Section 1591, and plaintiff is therefore

                             entitled to recover under Section 1595.

                             D. Liability for Punitive Damages.

                                     Punitive damages are available in a federal cause of action against

                             an individual who engaged intentional conduct warranting an award of

                             such damages. See Carroll v. Bristol Twp., 827 F. Supp. 332, 335 (E.D.

                             Pa. 1993) (citing City of Newport, 453 U.S. 247 at 267, 101 S. Ct. 2748,

                             69 L. Ed. 2d 616); see also Carey v. Piphus, 435 U.S. 247, 55 L. Ed. 2d

                             252, 98 S. Ct. 1042 (1978). In order to obtain such damages, a plaintiff

                             must allege conduct that is intentional or motivated by evil motive, but

                             the defendant's action need not necessarily meet this higher standard.

                             Punitive damages are available if the defendant’s conduct was merely

                             reckless or callous.   Savarese v. Agriss, 883 F.2d 1194, 1204 (3d Cir.

                             1989) (citing Smith v. Wade, 461 U.S. 30, 56, 75 L. Ed. 2d 632, 103 S.

LAW OFFICE OF                Ct. 1625 (1983)); see also Keenan v. City of Phila., 983 F.2d 459, 470 (3d
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                             Cir.1992); Enticing a child to engage in sexual acts is intentional,
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                             outrageous and evil conduct as a matter of law.      Angie M. v. Superior


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                             Court, 44 Cal. Rptr. 2d 197, 204 (Calif. App. 4th 1995). Moreover, if the

                             elements of the offense pled to include conduct which by its very nature

                             is outrageous, reckless, or deliberately indifferent to the rights of others,

                             liability for punitive damages is established as a matter of law.        See

                             Lamb v. Anderson, 147 P.3d 736 (Alaska 2006) (the State Supreme Court

                             held that in a suit for damages arising from an injury accident, collateral

                             estoppel applied and liability for punitive damages would attach as a

                             matter of law.   The Court concluded that the conviction is conclusive

                             evidence of recklessness for purposes of punitive damages).         Punitive

                             damages are appropriate when the defendants' conduct is motivated by

                             evil intent or when it involves reckless or callous indifference to rights of

                             others. Smith v. Wade, 461 U.S. at 56.      Enticing a minor to engage in

                             sexual acts, and using illegal drugs such as cocaine and cocaine base to

                             entice that minor is reckless and outrageous conduct with evil intent as a

                             matter of law. Because Boehm has admitted to this conduct in his plea

                             agreement, and because he is judicially estopped from denying this

                             conduct, plaintiff is entitled to summary judgment as to Boehm’s liability

                             for punitive damages.




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                                                           CONCLUSION

                                   There are no issues of material fact in dispute as to Boehm’s

                             liability for both compensatory and punitive damages.         Accordingly,

                             summary judgment on liability should be entered in favor of the plaintiff.

                                   DATED this 13th day of January 2010.


                                                                        _________/s__________________
                                                                        Darryl L. Jones, Esq.
                                                                        Attorney for Plaintiff
                                                                        ABA No: 8811188




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